Case 1:04-cv-10981-PBS Document 1710-12 Filed 03/12/09 Page 1 of 3

Exhibit 11
Case 1:04-cv-10981-PBS Document 1710-12 Filed 03/12/09 Page 2 of 3

 

 

 

Page 309
UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

)
In re: NEURONTIN MARKETING,  )
SALES PRACTICES, AND PRODUCTS)
LIABILITY LITIGATION, )

)

 

VOLUME II

CONTINUED VIDEOTAPED DEPOSITION OF
RONALD Wm. MARIS, Ph.D.
(Taken by Defendant)
Columbia, South Carolina

Tuesday, September 30, 2008

Reported in Stenotype by
V. Dario Stanziola, CSR, RPR, CRR
Transcript produced by computer-aided transcription

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Case 1:04-cv-10981-PBS Document 1710-12 Filed 03/12/09 Page 3 of 3

 

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Page 342
the record.

Q. Right. But it's not in your report, right?

A. That's because I didn't come across it.

I looked as hard as I could and found what I found.
I didn't consciously find something and leave it
out.

Q. Now, if you combined the data from the
epilepsy and the neuropathic pain studies, are you
aware that, again, the incidence of depression is
reported as higher on placebo than in patients taking
Neurontin?

A. That would just make sense from what
you've just shown me.

(Exhibit 24: A document entitled Rates Of
Depression Reported As An Adverse Event In
Neurontin Placebo-Controlled Neuropathy And
Epilepsy Clinical Trials marked for
identification, as of this date.)

Q. I'm going to show you what.we've marked as
Exhibit 24 to your deposition, and this is based on
the FDA's clinical review that we just looked at.

And if you see in the depression column, it

reports -- this is a chart that reports the exact
same information we just pulled out of table 7.20,
correct?

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Page 344 §
This is not a significant difference, so
there's no difference.
MS. McGRODER: Object and move to strike
Q. My question wasn't whether they were
significant, whether the difference was significant.
My question was is the number 1.7 percent, that
incidence is higher in placebo than on Neurontin 1.
percent?
MR. SOH: Dr. Maris, wait a second.
Lori, is this a PowerPoint that you put
together from the Daubert hearing you're
using?
MS. McGRODER: Absolutely. This was
admitted into evidence at the Daubert hearing.
MR. SOH: I would like for -- Dr. Maris,
would you like to see -- are you comfortable
using a PowerPoint -- z
THE WITNESS: I was wondering where this
came from. :
MR. SOH: -- or do you want to look at
the actual original documents?
THE WITNESS: Yeah, I have some clinical
reviews, but I don't have this.
Q. Well, the actual -- Dr. Maris, the actual :
original document is Exhibit 23 that we just marked

 

 

Page 343

A. Yes, it is.

MS. McGRODER: Oh, I'm sorry.

Q. And the title of this exhibit is rates of
depression reported as an adverse event in Neurontin
placebo controlled neuropathy and epilepsy clinical
trials, correct?

A. Correct.

Q. And if you combine the incidence reported
for depression on gabapentin in both the neuropathy
and the epilepsy studies for Neurontin, you get an
incidence of 1.5 percent, correct?

A. You do.

Q. And if you combine the placebo numbers, the
incidence is 1.7 percent, correct?

A. Right.

Q. So the incidence on placebo, when you
combine the data from all studies, shows that the --
the risk of depression was higher on placebo than in
Neurontin?

A. No, no, no, What it shows is there's no
difference. You can't have it both ways. You
can't say nonsignificant differences are
significant when you want to use them, and when I
want to use them, you say you can't do that because
they're not significant.

 

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Page 345 |
to your deposition, correct? :
These are the exact same data reported in

this document.
MR. SOH: I just wanted to make it clear
-- I just wanted to clarify for the record
what you were using.
MS. McGRODER: Well, I think I said that
when I asked the question. I think it was
clear.
A. My question is where is the FDA clinical
review?
Q. This is the FDA clinical --
A. That's it, two pages?
Q. No, this is the extracted document. :
Do you know how many pages the FDA clinical :
review is? ;
A. Well, I've got one here. I'd like to see
the whole one.
Q. No, that is not the clinical review, Dr.
Maris.
A. That's right. But it is a clinical
review.
Q. Hand me that, please.
A. It is a clinical review.
Q. Hand me that, please.

 

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